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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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                                            ..........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                       15-cv-07433-RWS




                                                              ......
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

                          Declaration Of Laura A. Menninger In Support Of
             Defendant’s Sur Sur Reply In Support of Motion for Rule 37(b) & (c) Sanctions

        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration in support of

Reply to Plaintiff’s Opposition to Defendant’s Motion To Reopen Plaintiff’s Deposition.

        2.       Attached as Exhibit U (filed under seal) are true and correct copies of excerpts

from the deposition of Dr. Steven Olson, designated as Confidential under the Protective Order.

        3.       Attached as Exhibit V (filed under seal) are true and correct copies of Exhibit 6

from the deposition of Dr. Steven Olson, designated as Confidential under the Protective Order.

        4.       Attached as Exhibit W (filed under seal) are true and correct copies of Exhibit 7

from the deposition of Dr. Steven Olson, designated as Confidential under the Protective Order.
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       5.     Attached as Exhibit X (filed under seal) is a true and correct copy of a letter from

Laura A. Menninger to Meredith Schultz dated July 14, 2016.



Dated: July 25, 2016




                                                By: /s/ Laura A. Menninger
                                                Laura A. Menninger



                               CERTIFICATE OF SERVICE

       I certify that on July 25, 2016, I electronically served this Declaration Of Laura A.
Menninger In Support Of Defendant’s Sur Sur Reply In Support of Motion for Rule 37(b) & (c)
Sanctions via ECF on the following:

Sigrid S. McCawley                                Paul G. Cassell
Meredith Schultz                                  383 S. University Street
BOIES, SCHILLER & FLEXNER, LLP                    Salt Lake City, UT 84112
401 East Las Olas Boulevard, Ste. 1200            cassellp@law.utah.edu
Ft. Lauderdale, FL 33301
smccawley@bsfllp.com
mschultz@bsfllp.com
                                                  J. Stanley Pottinger
Bradley J. Edwards                                49 Twin Lakes Rd.
FARMER, JAFFE, WEISSING, EDWARDS,                 South Salem, NY 10590
FISTOS & LEHRMAN, P.L.                            StanPottinger@aol.com
425 North Andrews Ave., Ste. 2
Ft. Lauderdale, FL 33301
brad@pathtojustice.com
                                                  /s/ Nicole Simmons
                                                  Nicole Simmons




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